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                                                                                       STATE OF MICHIGAN
                                                                      IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

                                                           ANDREW LIPIAN, an individual,

                                                                  Plaintiff,
                                                                                                                                20-000310-CZ
                                                           vs.                                                         Case No: 20- CZ
                                                                                                                       Hon. JUDGE DAVID S. SWARTZ
                                                           JEFFERY FRUMKIN, an individual,
                                                           ELIZABETH SENEY, an individual,
                                                           PAMELA HEATLIE, an individual,
                                                           STEVEN WEST, an individual,
                                                           AARON DWORKIN, an individual,
                                                           MELODY RACINE, an individual,
                                                           CHRISTOPHER KENDALL, an individual,

                                                                  Defendants.

                                                           DEBORAH GORDON LAW
                                                           Deborah L. Gordon (P27058)
                                                           Elizabeth Marzotto Taylor (P82061)
FILED IN Washtenaw County Trial Court; 3/20/2020 9:12 AM




                                                           Attorneys for Plaintiff
                                                           33 Bloomfield Hills Parkway, Suite 220
                                                           Bloomfield Hills, Michigan 48304
                                                           (248) 258-2500
                                                           dgordon@deborahgordonlaw.corn
                                                           emarzottotaylor@deborahgordonlaw.com


                                                                  There is a civil action between these parties arising out of the same transaction
                                                                  or occurrence as alleged in this complaint pending the United States District Court,
                                                                  Eastern District of Michigan, Southern Division, Case No: 18-cv-13321, having been
                                                                  assigned to Judge Arthur J. Tarnow.

                                                                                COMPLAINT AND DEMAND FOR JURY TRIAL

                                                                  Plaintiff Andrew Lipian, by his attorneys Deborah Gordon Law complains against

                                                           Defendants as follows:

                                                                                              Jurisdiction and Parties

                                                                  This is an action for hostile environment and quid pro quo sexual harassment in violation

                                                           of Title IX of the Education Amendments of 1972, as amended, 20 USC §1681, et seq., 34 C.F.R.


                                                                                                           1
                                                                                                                                                  Exhibit 1
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§106.31 et seq. and the Elliott-Larsen Civil Rights Act, MCL 37.21010 et seq.

       1.      Plaintiff Andrew Lipian ("Lipian") is an individual who resides in Elyria, Ohio.

       2.      Defendant Jeffery Frumkin ("Frumkin") is an individual who, upon information

and belief, resides in Washtenaw County, and was employed by the University Michigan as

Associate Vice Provost of Faculty and Academic Affairs and Interim Senior Director of the Office

of Institutional Equity at all times material to the allegations raised in this complaint.

       3.      Defendant Elizabeth Seney ("Seney") is an individual who, upon information and

belief, resides in Washtenaw County, and was employed in the University of Michigan Title IX

Office of Institutional Equity as Associate Director and Deputy Title IX Coordinator at all times

material to the allegations raised in this complaint..

       4.      Defendant Pamela Heatlie ("Heatlie") is an individual who, upon information and

belief, resides in Washtenaw County, and was employed in the University of Michigan Title IX

Office of Institutional Equity as Associate Vice Provost for Academic Affairs, Senior Director of

the Office of Institutional Equity and Title IX Coordinator at all times material to the allegations

raised in this complaint.

       5.      Defendant Melody Racine ("Racine") is an individual who, upon information and

belief, resides in the state of Michigan and was employed by the University of Michigan School

of Music Theater and Dance as Interim Dean at all times material to the allegations raised in this

complaint.

       6.      Defendant Steven West ("West") is an individual who, upon information and

belief, resides in Washtenaw County, and was employed by the University of Michigan School of

Music Theater and Dance as Chair of the Voice Department at all times material to the allegations

raised in this complaint.



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        7.      Defendant Aaron Dworkin ("Dworkin") is an individual who, upon information

and belief, resides in Washtenaw County, and was employed by the University of Michigan School

of Music Theater and Dance as Dean at all times material to the allegations raised in this complaint.

        8.      Defendant Christopher Kendall ("Kendall") is an individual who, upon

information and belief resides in Washtenaw County, and was employed by the University of

Michigan School of Music Theater and Dance as Dean at some periods of time material to the

allegations raised in this complaint.

        9.      All Defendants were responsible for ensuring that Title IX was enforced as to

faculty, ensuring that policies and procedures were in place and were complied with, and for

investigating and/or reporting stopping sexual harassment by faculty of students.

        10.     Jurisdiction and venue are proper as Defendants reside in Washtenaw County and

the events underlying this Complaint occurred at the University, which is also in Washtenaw

County.

        11.     The amount in controversy exceeds 25,000.00.

                                        Background Facts

      Daniels and Plaintiff join the University; Daniels was viewed as a superstar and
                             was treated as such by Defendants

        12.     In March 2019, Defendants Seney and Frumkin signed off on a Report stating that

Daniels was a well-known predator during his employment at the SMTD, and that he had harassed

at least 20 students.

        13.     In late 2015, Plaintiff applied to the University of Michigan School of Music,

Theatre and Dance ("SMTD") in order to obtain a graduate degree from its Voice Department.

        14.     Plaintiff began classes at the SMTD in Fall 2016.

        15.     David Daniels ("Daniels"), age 52, joined the SMTD faculty in the Fall, 2015 as a


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Professor. Daniels had no academic or formal teaching experience; he had been a professional

opera singer and recording artist for two decades. He was brought onboard to elevate the prestige

of the SMTD Voice Department and to increase enrollment at the University.

       16.     The Interim Dean of the SMTD, Melody Racine, testified that David Daniels was

"lore" at the SMTD in that he was a former student who had gone on to become internationally

famous.

       17.     The SMTD was so anxious to bring Daniels onboard that the faculty and

administration seriously considered hiring Daniels with full tenure, which would have been highly

unusual. Instead, he was given an expedited path to tenure; this was also unusual.

       18.     Upon his hire, the University faculty website page promoted the idea that Daniels

was a major star, stating, in part, that he "has appeared with the world's major opera companies

and on its main concert and recital stages. He made history as the first countertenor to give a solo

recital in the main auditorium of Carnegie Hall. The Chicago Tribune has called Daniels `today's

gold standard among countertenors.' Gramophone magazine acknowledged his contribution to

recorded excellence as well as his expansion of the repertoire for his voice type by naming him

one of the 'Top Ten Trailblazers' in classical music today. . . . Highly sought after for the works

of Handel, Monteverdi, Gluck, Mozart, and Britten, Daniels has been featured on the great operatic

stages of the world to overwhelming critical acclaim. Highlights of recent seasons include multiple

appearances at the Metropolitan Opera as the title role of Giulio Cesare in David McVicar's

inventive production, Prospero in the Baroque pastiche The Enchanted Island, and in the title role

of Gluck's Orfeo ed Euridice in a new production marking Mark Morris's debut at the Met as a

stage director and conducted by music director James Levine. Appearances at the Lyric Opera of

Chicago include the title role in Handel's Rinaldo, Oberon in Britten's A Midsummer Night's



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Dream, and Lichas in Peter Sellars's new production of Handel's Hercules._Additional

appearances include Arsamenes in Handel's Xerxes and Bertarido in Handel's Rodelinda with the

San Francisco Opera. At Santa Fe Opera his role debut as Roberto in Vivaldi's Griselda, the work's

first   major      U.S.      production     by       Peter   Sellars,    drew     rave     reviews.

http://smtd.umich.edu/about/faculty-profiles/david-daniels/ (Upon information and belief, this site

was removed sometime in 2019.)

        19.     Plaintiff sought a career as a "countertenor" (also referred to as contra tenor), a

unique type of classical male singing voice whose vocal range is equivalent to that of the female

contralto or mezzo-soprano voice types.

        20.     Daniels had established an extremely successful career as a countertenor prior to

joining the faculty of the University, as set forth in part above, and had multiple high-level

connections in the performing and recording industries and in the international opera community.

        21.     Beginning in Fall 2016, Plaintiff was one of Daniels' students at the University. In

addition to attending his class, Daniels was Plaintiff's Voice Professor, attending private sessions

with him once a week.

        22.     Daniels was the only countertenor faculty at the University; as such Plaintiff was

reliant on him for instruction, coaching and career mentoring.

        23.     Daniels continually promoted the idea that he was responsible for placing students

in roles and on stage and that he would do the same for Plaintiff.

        24.     Daniels was by far the faculty member most uniquely able to assist Plaintiff in

launching a career as a countertenor. In addition to being the only countertenor, Daniels was one

of the few faculty members who had his own professional manager, something that would be very

advantageous to a student.



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       25.     Based upon Daniels' position as his Professor, continual promises of career

assistance and his friendly overtures and encouragement, Plaintiff viewed Daniels as a professional

mentor as well as his Professor. Daniels organized auditions for Plaintiff with top level conductors

and agents visiting the University and promised to connect him with his own manager and

additional professional opportunities.

       26.     Daniels sought out male students for sexual interactions and harassment.

       27.     Plaintiff became a sexual target of Daniels.

       Defendants Dworkin, Kendall, Racine, and West knew or should have known
       Daniels posed a high risk of sexual harassment to students before they hired
                                 and awarded him tenure

         28.   At the time Daniels was hired by the University he had a long, well-known

reputation for being sexually inappropriate.

         29.   An SMTD Professor testified that the first time he met Daniels, when he himself

was a student, Daniels forcibly grabbed and kissed him, and propositioned him for sex.

         30.   Another SMTD Professor testified that at the time Daniels was hired, he knew that

Daniels had sent "inappropriate pictures via text messages" to one of his own former classmates

when he was a student at the SMTD. This Professor admitted he had "always known" Daniels to

be "open sexually in terms of his conversations."

         31.    When some University faculty members, including the head of Daniels'

department, Defendant West, the former Chair of the Voice Department at SMTD, learned that

Daniels had been hired, they openly discussed that "someone's got to tell him to keep his hands

off the [male] SMTD students," and wondered "whether it should be the dean or the department

chair [Defendant West] to speak to [Daniels] about behaving appropriately in an academic setting."

No such conversation took place with Daniels.



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         32.    One faculty member described a conversation in which West stated, "they're hiring

David Daniels, and someone needs to be sure that he's not going to be engaging with young [male]

students."

         33.    Another SMTD Professor testified that at the time of Daniels' hire he was aware

of rumors that Daniels was "very outwardly sexual," and that once Daniels was at the SMTD, the

Professor was "definitely" aware that Daniels was outwardly sexual in his language, and that

Daniels' behavior was generally known.

         34.    Another faculty member testified that many members of the Voice department

commented on or had concerns about Daniels being sexually forward at the SMTD.

         35.   On May 17, 2018, upon the recommendations of Dworkin, Kendall, Racine, and

West, Daniels was granted tenure by the University Board of Regents, in spite of the fact that by

this time, the University had received multiple credible allegations of sexual misconduct against

him, including a complaint filed with the University's Office of Institutional Equity, as set forth

below.

         36.   With tenure, Daniels was provided with employment and income protection.

Indeed, as of today's date Daniels is still on the University payroll.

  Defendants failed to train and monitor faculty, including Daniels, to ensure compliance
                          with the law, leading to the events here.

         37.   Defendants Seney, Heatlie and Frumkin maintained a policy prohibiting sexual

harassment of students by faculty.

         38.   The policy set forth the definition and examples of prohibited sexual harassment,

which include all of the acts complained of herein.

         39.   That policy was not distributed to SMTD students.

         40.   Defendants Seney, Heatlie, Frumkin, West and Racine did not require that SMTD


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faculty read or be trained on the policy.

       41.     With regard to how a student could report sexual harassment by a faculty member,

the policy was extremely vague; no specifics were provided.

       42.     Defendants did not require that faculty receive any training on sexual harassment

of students.

       43.     Defendants did not require that students receive any training on sexual harassment

by faculty.

       44.     The Interim Dean at the SMTD, Melody Racine, testified that she recalls no specific

training she ever had with regard to sexual harassment.

       45.     Defendants did not require training for employees "responsible" for reporting

sexual harassment of students by faculty, or training for students making them aware of the identity

and role of "responsible" employees.

       46.     In March 2018, Defendants Seney, Heatlie and Frumkin at the OIE received a

complaint of sexual harassment against Daniels alleging that he solicited a male student for sex on

the dating app Grindr. Defendants did not perform an investigation, and closed the file. The

Defendants had reason to know the complaint was credible, and that Daniels was sexually

harassing his students, but took no action. Even then, Defendants did not require Daniels, the other

faculty, nor students to obtain any training.

       47.     The then-University Title IX Coordinator, Defendant Pamela Heatlie, testified that

even after this lawsuit was filed in October 2018, she made no attempt to learn whether David

Daniels had ever received sexual harassment training.

       48.     As of the date of her deposition, August 1, 2019, Heatlie was unable to say whether

all faculty at the SMTD had received sexual harassment training.



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   Defendants ignored sexual harassment by faculty, and in particular by David Daniels.

       49.     Defendants' custom and practice of deliberate indifference to sexual misconduct

goes back many years, and encompasses many officials. It is systemic and institutionalized within

the SMTD.

       50.     By way of example, an SMTD Professor testified that when he had been an SMTD

student years prior, he tried to notify Defendant Racine of his own experience being sexually

harassed by an SMTD Professor, but that Racine turned him away.

       51.     In December 2018 and February 2019, the Michigan Daily reported that a former

student's complaint that a UM professor sexually assaulted her went unanswered for over a year.

Multiple students alleged that UM tolerated the professor's well-known, widespread sexual

misconduct towards students throughout his 40-year career. Much like in this case, the professor

was allowed to retire in lieu of discipline. See Sammy Sussman, "Sexual misconduct complaint

about U professor goes unanswered for more than a year." The Michigan Daily (February 5,

2019), https://www.mi chi gandai ly. com/secti on/campus-li fe/sexual-misconduct-comp laint-about-

u-professor-goes-unanswered-over-year. See also Sammy Sussman, "Former students bring 40

years of misconduct allegations by SMTD professor." The Michigan Daily (December 10, 2018),

https://www.michigandaily.com/section/community-affairs/former-students-bring-40-years-

misconduct-allegations-smtd-professor.

       52.     Defendants repeatedly failed to act on known, obvious circumstances, including as

to David Daniels.

       53.     Defendants had reasonable notice of Daniels' harassment, and, based on the totality

of the circumstances, were aware of a substantial probability that sexual harassment was occurring.

Defendants knew or should have known of Daniels' harassment.



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        54.      In September 2017 the SMTD "Recruitment Coordinator," who worked closely

 with the faculty of the Voice Department, told Daniels he should watch out for one of his male

 students who was complaining openly that Daniels was "sexual" during his voice lessons. No

 report was made, nor was this claim investigated.

        55.     Plaintiff watched as Daniels blackballed this male student to industry professionals

 for having reported his sexual misconduct.

        56.      A Professor who described himself as a "mandatory reporter," and who was the

 "Ombudsman," and "Graduate Student Advisor" for the SMTD testified that in March 2018 he

 received a complaint from a student that Daniels was soliciting male students for sex and that there

 was concern by students that Daniels would soon obtain tenure. This Professor also was aware that

 that a SMTD Graduate Instructor had been told about the solicitations.

        57.      The student told the Professor that other male students were afraid to make a report

 because of "fear."

        58.     This Professor, who reported to Defendants West and/or Racine, did not make a

 report about what he had been told. He told another faculty member, who was assigned as Daniels'

 faculty "mentor, of the complaint in passing. She did nothing.

        59.     Other professors were aware of similar solicitations.

        60.     Daniels made sexual comments about students to multiple faculty members,

 including over dozens of remarks to one faculty member. No report was made.

        61.      In March 2018, an anonymous complaint was made to the University Title IX

 "Office of Institutional Equity" (hereafter "OIE") that Daniels was "propositioning [male] students

 of the dating app Grindr,' and offering them money for sex acts."

        62.      An OIE investigator, Defendant Elizabeth Seney, met with Daniels. She did not



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 attempt to corroborate the allegations against Daniels during this meeting, but Daniels

 categorically denied them.

        63.       Seney did not ask Daniels about his text messages or social media accounts, and

 not request to view his phone, activity on Grindr, or any of his communications with students of

 the University or SMTD.

        64.       The matter was closed the next day with no finding against Daniels. Based on the

 specifics of the allegation it was highly likely that it was true. Indeed, later documents proved that

 not only was this student solicited for sex on Grindr, but others were as well.

        65.       Once the matter was closed, Daniels wrote to Seney stating, "I want to thank you

 again for your incredibly professional and non judgmental approach with me yesterday...thank

 you again. All my best and admiration for the job you do." Seney replied, thanking Daniels for

 "taking the time to share this with me...and [for] your open and sincere participation in the

 conversation."

        66.       Defendant Seney, the investigator, was deliberately indifferent to ensuring that the

 matter was correctly dealt with. She knew or should have known that further action was required

 to stop Daniels from engaging in sexual misconduct towards students.

        67.        Daniels told multiple other people within the SMTD that the OIE told him they

 had "found no wrongdoing so they were closing the case."

        68.       In April 2018, Plaintiff told an SMTD Professor that Daniels behaved in a sexually

 inappropriate manner towards him. The Professor responded that SMTD officials "don't care. The

 whole School of Music is like this."

        69.       The Professor recounted that when he had been and SMTD student years prior, he

 tried to notify Defendant Racine of his own experience being sexually harassed by an SMTD



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 Professor, but that Racine turned him away. The Professor explained to Plaintiff that there was "no

 chance" and "a very low probability that anyone will take [his claims] seriously."

        70.     The Associate Vice Provost of Faculty and Academic Affairs and Interim Senior

 Director of the Office of Institutional Equity, Defendant Jeffery Frumkin, testified that he is aware

 that it was an "open secret" at the SMTD that Daniels was overtly sexual in the way he talked to

 students, especially male students, and that Daniels' sexual talk and "behavior" was very open.

        71.     Racine and other Defendants knew that students are often hesitant to come forward

 with complaints of sexual harassment by faculty because of fear of retaliation and embarrassment,

 concern about whether they will be able to continue in school, and fear for their own careers, but

 took no steps to remediate that issue.

              Daniels sexually harassed and assaulted Plaintiff on the basis of his gender

        72.     As a countertenor, Plaintiff worked closely, most often one-on-one with Daniels at

 SMTD. Daniels lauded Plaintiff's talents and promised him that with Daniels' connections and

 help, Plaintiff would have a very successful opera career.

        73.     Generally, SMTD graduate students' studio professors are expected to act as

 mentors to students, and assist them in networking and making professional connections.

        74.     On the evening of March 24, 2017 Daniels invited Plaintiff to his home to watch

 "Ru Paul's Drag Race" because he was "lonely" and wanted to discuss Plaintiff's "career."

        75.      Plaintiff was served several drinks of bourbon. Late on the 24th or during the early

 morning hours of the 25th, Plaintiff said he was tired and needed sleep for a performance the next

 day. Daniels handed him what he said was a Tylenol PM but was actually the sleep medication

 Ambien. Daniels then removed Plaintiff's clothes, forced himself upon Plaintiff and groped and

 touched his genitals and face.



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        76.     Shortly thereafter, Daniels told Plaintiff that he would likely be receiving a full

 fellowship for the two years of his graduate program.

        77.      From the time Plaintiff began his studies at SMTD in 2016 until August 2018, when

 Daniels was placed on paid leave, Plaintiff was continually subjected to a barrage of sexual

 harassment in class, studio sessions, and via text messages, including, but not limited to:

              a. requests for pictures of Plaintiff's genitals

              b. requests for a video of Plaintiff masturbating

              c. graphic pictures and videos of genitals and sexual toys

              d. video footage of Daniels masturbating

              e. talk of other students' bodies, Daniels' sexual preferences and activities, and that
                 he wished Plaintiff was gay.

        78.      Other students have described Daniels as "manipulative," "sneaky," and "creepy,"

 in his effort to "break down barriers" with students.

        79.      Daniels manipulated Plaintiff and broke down what would have been normal

 barriers between teacher and students.

        80.      This conduct was unwelcome. Plaintiff was trapped by Daniels, in that Daniels had

 control over his academic and professional career. In spite of Daniels' multiple requests, Plaintiff

 never shared any sexual photos or videos of himself. He attempted to keep Daniels at bay, and to

 not offend or anger him while he sought to complete his degree.

    Defendants knew or should have know of the sexual harassment of male students; this
                 resulted in the sexual assault and harassment of Plaintiff

        81.      Defendants knew or should have know of Daniels' sexual misconduct.

        82.      Because of Defendants failure to take appropriate corrective action on this

 knowledge, dozens of students were subjected to sexual misconduct and harassment, including



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 Plaintiff.

         83.    On March 26, 2019, Defendants completed an investigation and report into Daniels'

 sexual harassment of students other than Plaintiff entitled, "UM-Daniels Investigation."

         84.    The report found that Daniels engaged in multiple violations of the University's

 sexual harassment policies between 2016 and 2018, including the events set forth below.

         85.    Daniels solicited at least two male students on the dating app Grindr to have sex

 with him in exchange for money.

         86.    Daniels offered two male students money in exchange for performing sex acts in

 front him in a hotel room.

         87.    Over 20 individuals, including mainly male students, faculty, staff and/or former

 students had first-hand information about Daniels subjecting SMTD students to sexually harassing

 communications, and/or comments about other students.

         88.    Some of the communications and/or comments directed at other male students

 included Daniels sending videos of himself masturbating, solicitations to engage in sexual activity

 for money or without money, sending messages to students stating: "looking to make hot dad/son

 fantasy happen! $$$$$$..." telling students to "keep this quiet... I'm one year from tenure..,"

 sending nude photos of himself, asking about students sexual practices, making comments of a

 sexual nature to various students "on almost a daily basis," and on a "fairly regular basis,"

 including what students he wanted to have sex with, contacting an incoming freshmen student and

 describing in graphic detail a sexual encounter he had engaged in, asking students if they were gay

 and making lewd comments during lessons.

         89.    The report also describes students and faculty stating that Daniels and/or his spouse

 had sex with male University students, including a student who was "incapacitated," and



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 propositioning and/or making sexual advances to students.

  Defendants took action against Daniels only when they were forced to because his conduct
                                       became public

        90.    On July 14, 2018, an anonymous post was placed on the University of Michigan

 Opera Facebook page stating, in part, "David Daniels is a serial rapist who drugs and rapes boys

 with his husband...."

        91.    On July 16, 2018 an unnamed person sent an email to the University of Michigan

 Regents, the SMTD and Executive Officers stating:

        Date: July 16, 2018 at 11:09:41 AM EDT
        Subject: David Daniels Sexual Assault

        Distinguished members of the University of Michigan Administration, Board of
        Regents, and SMTD faculty,

        In 2010, a member of your faculty, David Daniels, and his husband drugged and
        raped a young singer. He never reported it because he was terrified that a famous
        and successful singer could derail his nascent career.

        This rape was a planned and coordinated attack. Daniels and his husband have done
        this before and have done it since and they choose their prey carefully. Besides
        sexual assaults, dozens of young men are unwilling recipients of pictures of
        Daniels' genitalia. He's a known serial sexual predator.

        The brave young singer has published his story, but has withheld the names of his
        rapists. For now. However, there are exposes in the works which will be published
        in national news outlets in which the names of Daniels and other predators in the
        music world will be revealed. This will in turn empower David Daniels' countless
        other victims to speak out. And I can promise you that they will.

        You need to decide which side of history you want to be on — the side of those who
        covered up crimes and then had their legacies destroyed (like Joe Paterno at Penn
        State) and the reputation of their institutions damaged, OR the side of those who
        stood up against sexual assault and abuse.

        I have now informed you of Daniels' actions. Many people in the opera & classical
        world are aware of them and are distancing themselves from Daniels and UM.
        Everything you do from now on will be seen either as doing the right thing or
        engaging in a cover-up.



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        I hope you do the right thing.

        92.     On July 18, 2018 the University Police Department (UMPD) interviewed the

 former student from Rice University who stated he had been "raped by David Daniels and his

 husband Scott in 2010..." in Houston. He said he had been "drugged" prior to the rape.

        93.     The UMPD also interviewed Daniels on July 18, 2018. He admitted that with

 regard to the allegation of rape in Houston, he and his husband and Scott were drinking with the

 student and that "we were all pretty drunk." He admitted they had all taken a drug, believed to be

 Ambien, and had sex. Daniels stated "Scott and I had been experimenting with using [Ambien]

 during sex... and I gave [the student] one."

        94.     The description of this assault was very similar to Daniels' assault of Plaintiff.

  A faculty member reported Daniels' sexual assault of Plaintiff; the OIE failed to take any
            action until after Plaintiff filed a federal lawsuit on October 24, 2018

        95.     The events in Houston described above became public, causing Plaintiff to feel that

 he could finally talk to a faculty member about the similar assault he had been subjected to, and

 he did so.

        96.     The faculty member testified that he was very concerned about what Plaintiff

 described to him, and reported the assault to the OIE on August 23, 2018.

        97.     Defendants did nothing. No file was opened.

        98.     On October 30, six days after this lawsuit was filed, Plaintiff received for the first

 time a communication from Defendant Seney stating, in part, "I understand you may have concerns

 regarding sexual misconduct by a faculty member."

        99.     A Houston, Texas grand jury on July 25, 2019, indicted University of Michigan

 Professor David Daniels, and his husband, William A. Scott Walters, for second-degree criminal

 sexual conduct in the case of the former Rice University student.


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        100.    Defendants have taken no action to investigate how it was that they hired,

 promoted, and continued to employ Daniels, ignoring his open sexually predatory behavior.

   Defendants used the OIE investigation process and findings to retaliate against Plaintiff
                              and place him in a false light.

        101.    Daniels' sexual assault of Plaintiff was reported to the OIE by a faculty member on

 or about August 24, 2018.

        102.    On or about October 24, 2018, the day Plaintiff sued the University for violations

 of Title IX in the U.S. District Court for the Eastern District of Michigan, Defendants decided to

 begin an investigation into Plaintiff's allegations, even though Plaintiff did not request that they

 do so. The OIE did not contact Plaintiff until October 26, 2019.

        103.    All Defendants are listed as witnesses in the federal litigation.

        104.    The investigation by Defendants Seney, Heatlie and Frumkin is referred to in the

 federal Complaint.

        105.    The "Lipian-Daniels" investigation was concluded and findings ("Report") were

 made by the OIE September 3, 2019, over one year after the OIE received the complaint. This

 period of time was inordinately lengthy. Per Defendants, investigations should typically be

 concluded within less than six months. In the parallel investigation of UM-Daniels, there were far

 more witnesses and facts adduced and the matter was concluded in March 2019. The inordinate

 length of the Lipian-Daniels investigation is directly attributable to Seney and the OIE's desire to

 compile a Report that concluded that Plaintiff was not sexually harassed.

        106.    In order to retaliate against him, and in an attempt to place him in a false light, the

 OIE Title IX office and Defendant Seney came to the conclusion that Plaintiff welcomed the sexual

 harassment, and that he engaged in a mutual, voluntary sexual relationship with Daniels.

        107.    The OIE and Seney failed to follow standard procedures for investigations and


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 findings, and treated Plaintiff differently than similarly situated students who had not sued the

 University.

         108.    Seney's intent, on behalf of the other individual Defendants, was to single out

 Plaintiff and to reach a desired, but false result.

         109.    The OIE and Seney, on behalf of the other individual Defendants, made a finding

 that "the evidence is not sufficiently clear to reach the conclusion that a violation [of the sexual

 harassment policy] occurred based on the preponderance of the evidence." In other words, the

 OIE could not make a finding due to lack of evidence.

         110.    Nonetheless, the OIE and Seney spent 13 pages gratuitously describing all

 "evidence" they compiled to put Plaintiff in a negative light. The recitations included material of

 an extremely personal nature that could be embarrassing and that will likely be made public, as

 they are aware. This exercise was procedurally needless, in that no finding as to sexual harassment

 was to be made. It was designed only to harm the Plaintiff; there was no other rational basis for

 this course of action as a matter of fact or procedure.

         111.    Notably, the OIE and Seney found that Daniels' identical acts of misconduct, when

 perpetrated on other students who had not sued the University, were per se violations of the sexual

 harassment policy.

         112.    By this time, the OIE and Seney had gathered an overwhelming amount of

 "evidence" of Daniel's overt lying, including directly to the University, sexual assaults, sexual

 solicitations of students of sex for money, obsession with sex, overt sexual overtures to Plaintiff

 and other males, and hundreds of sexual texts to students. The OIE and Seney did not include any

 of this corroborating information in the Lipian-Daniels Report; this evinces a clear difference in

 treatment.



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        113.    Similarly situated students who had been subjected to the same type of sexual

 harassment by Daniels, were not blamed by the OIE and Seney for welcoming, consenting to, and

 failing to explicitly object to Daniels conduct; they were not          asked about all of their

 communications; and were treated as blameless victims of Daniels, all in contrast to Seney's

 transparent efforts to victim-blame Plaintiff.

        114.    Seney intentionally did not allow Plaintiff to answer questions put to him by the

 OIE in writing, a process that is allowed for all other students where appropriate.

        115.    The OIE did not need to issue any report as to Lipian-Daniels. Their March 2019

 findings in UM-Daniels provide more than enough evidence to terminate Daniels, and Plaintiff

 never requested an investigation. Moreover, Plaintiff left the University in Spring 2019. The only

 purpose for the September 3, 2019 was to place him in a false light.

        116.    Daniels has not yet been terminated or disciplined. He presently remains on the

 University payroll, 12 months after the complaints against Daniels were made.

                                           COUNT I
                                Sex discrimination in violation of
                           The Michigan Elliott-Larsen Civil Rights Act

        117.    Plaintiff repeats and realleges paragraphs 1 through 116 set forth above with the

 same force and effect as though set forth in full herein.

        118.    Defendants are "agents" of an "educational institution" covered by MCL 37.2401.

        119.    Pursuant to MCL 37.2102, Defendants were prohibited from engaging in sex

 discrimination, which includes sexual harassment. Sexual harassment means unwelcome sexual

 advances, requests for sexual favors, and other verbal or physical conduct or communication of a

 sexual nature where submission to the conduct or communication is made a term or condition

 either explicitly or implicitly to obtain education or the conduct or communication has the purpose



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 or effect of substantially interfering with an individual's education, or creating an intimidating,

 hostile, or offensive educational environment.

           120.   As described aforesaid, Plaintiff was sexually harassed by his professor in violation

 of the law.

           121.   The action and inactions of Defendants resulted in discrimination against Plaintiff

 in the full utilization of or benefit from an educational institution or the services, activities, or

 programs provided by the educational institution.

           122.   Although Defendants knew or should have known of the substantial probability that

 Daniels was sexually harassing students, including Plaintiff, they failed to take any corrective

 action.

           123.   Defendant's actions as described above were in deliberate disregard of and with

 reckless indifference to the rights and sensibilities of Plaintiff.

           124.   As a direct and proximate result of Defendants unlawful actions, Plaintiff has

 suffered irreparable harm, injury, and damages, including but not mental and emotional distress,

 anxiety and mental anguish, humiliation and embarrassment; and loss of personal and professional

 reputation and opportunities.

                                           COUNT II
                                    Retaliation in violation of
                            The Michigan Elliott-Larsen Civil Rights Act

           125.   Plaintiff repeats and realleges Paragraphs 1 through 124 set forth above with the

 same force and effect as though set forth in full herein.

           126.   Defendants are "agents" of an "educational institution" covered by MCL 37.2401.

           127.   Plaintiff engaged in conduct protected under the ELCRA including, but not limited

 to, complaining orally and in his federal litigation about the sexual harassment he experienced



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 from David Daniels, which was directed toward him because of his gender (male).

         128.    Plaintiff's treatment, by the OIE and individual Defendants was retaliatory and

 occurred, in part, because Plaintiff opposed, objected to and refused to acquiesce in discriminatory

 employment practices, including discrimination based on gender, in violation of the anti-retaliation

 provisions of Michigan's Elliott-Larsen Civil Rights Act, MCL § 37.2101, et. seq.

         129.    The retaliation would have not occurred had Plaintiff not engaged in activity

 protected by the Elliott-Larsen Civil Rights Act.

         130.    The actions of Defendants were intentional, in deliberate disregard for the rights

 and sensibilities of Plaintiff.

         131.    As a direct and proximate result of those actions, the terms, conditions, and

 privileges of Plaintiff's education were adversely affected, and the damaging Lipian-Daniels OIE

 Report was constructed to construe him in a negative light.

         132.    As a direct and proximate result of Defendants unlawful actions, Plaintiff has

 suffered irreparable harm, injury, and damages, including but not mental and emotional distress,

 anxiety and mental anguish, humiliation and embarrassment; and loss of personal and professional

 reputation and opportunities.

                                             COUNT III
                                             False Light

         133.    Plaintiffs repeat and re-allege each and every preceding paragraph as if fully set

 forth herein.

         134.    Defendants had knowledge of or acted in a reckless disregard as to the falsity of the

 publicized matter and the false light in which Plaintiffs were placed in the Seney/Frunkim OIE

 Report. The insinuation was that Plaintiff was not harmful.

         135.    The statements were unreasonable, highly offensive and were designed to harm


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 Plaintiffs' reputations and career opportunities.

        136.    As a direct and proximate result of Defendants unlawful actions, Plaintiff has

 suffered irreparable harm, injury, and damages, including but not mental and emotional distress,

 anxiety and mental anguish, humiliation and embarrassment; and loss of personal and professional

 reputation and opportunities.

                                         Relief Requested

        Plaintiff demands judgment against Defendants as follows:

        A.      Legal Relief:

                1.      Compensatory damages in whatever amount he is found to be entitled;

                2.      Exemplary and punitive damages in whatever amount he is found to be en-
                        titled;

                3.      An award of interest, costs, reasonable attorney fees, and expert witness
                        fees.

        B.      Equitable Relief:

                1.      An injunction out of this Court prohibiting any further acts of wrongdoing
                        against Plaintiff;

                2.      An award of interest, costs and reasonable attorney fees; and,

                3.      Whatever other equitable relief appears appropriate at the time of final
                        judgment.


  Dated: March 20, 2020                               DEBORAH GORDON LAW
                                                      /s/Deborah L. Gordon (P27058)
                                                      Elizabeth A. Marzotto Taylor (P82061)
                                                      Attorneys for Plaintiff
                                                      33 Bloomfield Hills Parkway, Suite 220
                                                      Bloomfield Hills, Michigan 48304
                                                      (248) 258-2500
                                                      dgordon@deborahgordonlaw.com
                                                      emarzottotaylor@deborahgordonlaw.com




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